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Counsel for Plaintiff Sears Roebuck and Co.
and Kmart Corp.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

: No. 07-cv-5944-SC
IN RE CATHODE RAY TUBE (CRT) : MDL No. 1917

ANTITRUST LITIGATION
Judge: Hon. Samuel Conti
Special Master: Hon. Charles A. Legge (Ret.)

This Document Relates to:
APPLICATION FOR ADMISSION OF

ALL CASES : ATTORNEY PRO HAC VICE

Pursuant to Civil L.R. 11-3, Jalaine Garcia, an active member in good standing of the bar of the
State of Florida, hereby applies for admission to practice in the Northern District of California on a pro
hac vice basis representing Sears Roebuck and Co. and Kmart Corp. in the above-entitled action.

In support of this application, I certify on oath that:

1. I am an active member in good standing of a United States Court or of the highest court

of another State or District of Columbia, as indicated above;

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ATTORNEY PRO HAC VICE 1 MDL No. 1917

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2 I agree to abide by the Standards of Professional Conduct set forth in Civil Local Rule
11-4, to comply with General Order No. 45, Electronic Case Filing, and to become familiar with the
Local Rules and the Alternative Dispute Resolution programs of this Court; and

3. An attorney who is a member of the bar of this Court in good standing and who maintains
an office within the State of California has been designated as co-counsel in the above-entitled action.

The name, address and telephone number of that attorney is:

Gavin D. Whitis, Esquire (184133)
Pond North LLP

100 Spear Street

Suite 1200

San Francisco, CA 94105

Tel: (415) 217-1240

Fax: (415) 644-0578

E-mail: gwhitis@pondnorth.com

I declare under penalty of perjury that the foregoing is true and correct.

DATED: February 11, 2013 ~eblana Marog
Valaihe Garcia
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